
652 S.E.2d 924 (2007)
STATE of North Carolina
v.
Donnell Ray GARDNER.
No. 429P07.
Supreme Court of North Carolina.
October 11, 2007.
Donnell Ray Gardner, pro se.
Anne M. Middleton, Assistant Attorney General, Thomas J. Keith, District Attorney, for State of NC.

ORDER
Upon consideration of the alternative petition filed by Defendant on the 31st day of August 2007 in this matter for writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 11th day of October 2007."
